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				PAUL v. HUNTER2017 OK 25393 P.3d 202Case Number: 115322Decided: 03/27/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 25, 393 P.3d 202

				


CHIP PAUL and PHILIP WINTERS, OKLAHOMANS FOR HEALTH, Petitioners,
v.
THE HONORABLE MIKE HUNTER, ATTORNEY GENERAL OF OKLAHOMA, Respondent.




¶0 ORDER


¶1 Petitioners filed a ballot title appeal pursuant to 34 O.S.Supp. 2015 §§ 9, 10, and requested the Court to assume original jurisdiction, review the ballot title substituted by the Attorney General, strike that title, and replace it with the original proposed ballot title for State Question No. 788, Initiative Petition No. 412.

¶2 Original jurisdiction is assumed. Okla. Const. Art. 7 § 4. The ballot title substituted by the Attorney General is hereby stricken. The original proposed ballot title is approved by the Court and shall be the ballot title for State Question No. 788, Initiative Petition No. 412. 34 O.S.Supp. 2015 §§ 9, 10.

¶3 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 27th DAY OF MARCH, 2017.


/S/CHIEF JUSTICE



¶4 CONCUR: COMBS, C.J.; GURICH, V.C.J.; and KAUGER, WATT, EDMONDSON, COLBERT, and REIF, JJ.

¶5 DISSENT: WINCHESTER, J.

¶6 RECUSED: WYRICK, J.







	Citationizer© Summary of Documents Citing This Document
	
	
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		Name
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Title 34. Initiative and Referendum
&nbsp;CiteNameLevel

&nbsp;34 O.S. 9, Ballot Title - Filing - Review - AppealDiscussed


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
